                    IN THE COURT OF APPEALS OF NORTH CAROLINA

                                        2021-NCCOA-353

                                          No. COA20-581

                                        Filed 20 July 2021

     Richmond County, No. 19 CRS 001157

     STATE OF NORTH CAROLINA,

                   v.

     CHRISTOPHER HUCKABEE, Defendant.


           Appeal by Defendant from judgment entered 4 December 2019 by Judge

     Stephan R. Futrell in Richmond County Superior Court. Heard in the Court of

     Appeals 27 April 2021.


           Attorney General Joshua H. Stein, by Assistant Attorney General Ann K.
           Cosper, for the State.

           Daniel J. Dolan for Defendant-Appellant.


           GRIFFIN, Judge.


¶1         Defendant Christopher Huckabee appeals from a judgment entered upon his

     convictions for assault with a deadly weapon inflicting serious injury and attaining

     the status of a habitual felon. Defendant argues that the trial court erred by (1)

     denying Defendant’s motion to dismiss the charges; (2) failing to dismiss the

     indictment due to a fatal variance between the indictment and the evidence presented

     at trial; (3) failing to instruct the jury on the lesser included offense of assault with a
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     deadly weapon; and (4) entering a civil judgment ordering Defendant to pay

     attorney’s fees without providing Defendant notice and an opportunity to be heard.

     Upon review, we hold that the trial court’s failure to instruct the jury on the lesser

     included offense of assault with a deadly weapon constitutes reversible error. We

     therefore vacate the judgment entered upon Defendant’s convictions and remand for

     a new trial. We also vacate the civil judgment as to attorney’s fees.

                          I. Factual and Procedural Background

¶2         The present case centers around a jailhouse fight that occurred between

     several inmates at the Richmond County Jail.

¶3         During the early morning hours on 14 April 2019, Officer Gregory Riggins was

     working an overnight shift at the Richmond County Jail. After hearing some noise

     emanating from the “C Block” of the jail, Officer Riggins walked over to the C Block

     and heard inmate Matthew Winfield yelling, “Let me out the cell.” When Officer

     Riggins asked Mr. Winfield what was wrong, Mr. Winfield responded that another

     inmate had “thr[own] pee on him.”

¶4         Officer Riggins then released Mr. Winfield from his cell and into the “day area”

     of the C Block just outside the cell. At the time, three other inmates were present in

     the day area of the C Block. After Mr. Winfield was released from his cell, one of the

     inmates in the day area “took a broom and started hitting on [Mr.] Winfield.” Shortly

     thereafter, Officer Jonathan Nails responded to the scene to assist Officer Riggins.
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     Officer Nails testified that he witnessed three inmates, including Defendant,

     “punching and stomping Mr. Winfield” and that “[Defendant] had the broom in his

     hand and struck Mr. Winfield.” After the altercation ended, officers observed that

     Mr. Winfield had a bleeding nose, bruised face, and “red marks and welts” on the

     forehead and back.

¶5         Mr. Winfield was later transported to Richmond Memorial Hospital where he

     was evaluated by emergency physician Dr. Jonathan Brower. At trial, Dr. Brower

     confirmed that Mr. Winfield had “multiple fractures to the nasal area” and one

     fracture “underneath the eye.” When asked to describe the typical level of pain

     caused by such fractures, Dr. Brower testified that “[i]t tends to be uncomfortable for

     a few days” but that “it’s not quite the same as like a broken arm, because you’re

     generally not moving that part of your body as much.” Mr. Winfield was discharged

     from the hospital approximately one hour and thirty minutes after admission. When

     asked why Mr. Winfield was not kept in the hospital for a longer period, Dr. Brower

     testified, “We typically don’t need to keep anybody longer for these types of injuries.”

¶6         A Richmond County grand jury returned true bills of indictment charging

     Defendant with assault with a deadly weapon inflicting serious injury and attaining

     the status of a habitual felon. During the jury charge conference, the trial court

     agreed to instruct the jury on two lesser included offenses of assault with a deadly

     weapon inflicting serious injury: (1) simple assault and (2) assault inflicting serious
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     injury. The trial court declined to instruct the jury on the lesser included offense of

     assault with a deadly weapon, despite Defendant’s requests that the instruction be

     included.

¶7         On 4 December 2019, a jury found Defendant guilty of assault with a deadly

     weapon inflicting serious injury. Defendant then pled guilty to attaining the status

     of a habitual felon. Defendant provided oral notice of appeal in open court.

                                          II. Analysis

¶8         Defendant argues that the trial court erred by (1) denying Defendant’s motion

     to dismiss the charges; (2) failing to dismiss the indictment due to a fatal variance

     between the indictment and the evidence presented at trial; (3) failing to instruct the

     jury on the lesser included offense of assault with a deadly weapon; and (4) entering

     a civil judgment ordering Defendant to pay attorney’s fees without providing

     Defendant notice and an opportunity to be heard. We agree that the trial court erred

     by failing to instruct the jury on the lesser included offense. For this reason, we

     vacate the trial court’s judgment entered upon his criminal convictions, vacate the

     civil judgment as to attorney’s fees, and need not consider the merits of his other

     arguments.

¶9         Defendant argues that he “must receive a new trial because the trial court

     failed to instruct the jury on the lesser included offense of assault with a deadly
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       weapon despite the fact that there was evidence that the injury was not serious and

       counsel for [Defendant] requested the instruction[.]”

¶ 10         “In North Carolina, a trial judge must submit lesser included offenses as

       possible verdicts, even in the absence of a request by the defendant, where sufficient

       evidence of the lesser offense is presented at trial.” State v. Lowe, 150 N.C. App. 682,

       686, 564 S.E.2d 313, 316 (2002) (citation omitted).         “A trial court must give

       instructions on all lesser-included offenses that are supported by the evidence, even

       in the absence of a special request for such an instruction; and the failure to so

       instruct constitutes reversible error that cannot be cured by a verdict finding the

       defendant guilty of the greater offense.” State v. Lawrence, 352 N.C. 1, 19, 530 S.E.2d

       807, 819 (2000) (citations omitted).       “The sole factor determining the judge’s

       obligation to give such an instruction is the presence, or absence, of any evidence in

       the record which might convince a rational trier of fact to convict the defendant of a

       less grievous offense.” State v. Wright, 304 N.C. 349, 351, 283 S.E.2d 502, 503 (1981)

       (citations omitted).

¶ 11         “A trial court’s decision not to give a requested lesser-included offense

       instruction is reviewed de novo on appeal.” State v. Matsoake, 243 N.C. App. 651,

       657, 777 S.E.2d 810, 814 (2015) (citation omitted). “When determining whether there

       is sufficient evidence for submission of a lesser included offense to the jury, we view

       the evidence in the light most favorable to the defendant.” State v. Ryder, 196 N.C.
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       App. 56, 64, 674 S.E.2d 805, 811 (2009) (citing State v. Barlowe, 337 N.C. 371, 378,

       446 S.E.2d 352, 357 (1994)).

¶ 12         Unlike assault with a deadly weapon inflicting serious injury, “the lesser

       included offense of assault with a deadly weapon . . . does not require that the victim

       suffer serious injury.” State v. McCoy, 174 N.C. App. 105, 113, 620 S.E.2d 863, 870
       (2005). Accordingly, if a rational juror could conclude from the evidence presented at

       trial that Mr. Winfield did not suffer serious injury, then the trial court erred by

       failing to instruct the jury on the lesser included offense of assault with a deadly

       weapon, and Defendant is entitled to a new trial. Id. at 113-14, 620 S.E.2d at 870.

¶ 13         “[W]hether a serious injury has been inflicted depends upon the facts of each

       case and is generally for the jury to decide under appropriate instructions.” Id. at

       113, 620 S.E.2d at 870 (alteration in original) (quoting State v. Hedgepeth, 330 N.C.

       38, 53, 409 S.E.2d 309, 318 (1991)). “Pertinent factors for jury consideration include

       hospitalization, pain, blood loss, and time lost at work.” Id. at 113-114, 620 S.E.2d at

       870 (citation omitted).

¶ 14         For example, in McCoy, “[t]he State’s evidence tended to show that . . . [the]

       defendant had severely beaten [the victim] and restrained her against her will over

       the course of . . . [a] month and [a] half.” Id. at 108, 620 S.E.2d at 867. The victim

       reported that “the defendant beat her in the face[] and twisted her arm until it

       fractured.” Id. The State’s evidence “tended to show that . . . [the] defendant used
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       his hands to twist [the victim’s] arm until it broke.” Id. at 113, 620 S.E.2d at 869.

       Notwithstanding the extent of the victim’s injuries, this Court held that “the jury

       could rationally have found [the] defendant guilty of assault with a deadly weapon”

       and that the trial “court erred by not instructing on that offense.” Id. at 114, 620

       S.E.2d at 870.

¶ 15         In another case, State v. Owens, 65 N.C. App. 107, 308 S.E.2d 494 (1983), the

       victim was shot by the defendant in the right arm and received medical treatment at

       a hospital. Id. at 109, 111, 308 S.E.2d at 496-98. The defendant argued on appeal

       “that the trial judge should have submitted a jury instruction on misdemeanor

       assault with a deadly weapon[.]” Id. at 110, 308 S.E.2d at 497. This Court agreed

       and held that “reasonable minds could differ” as to whether the victim’s injuries were

       serious, reasoning that the victim was only “treated at a hospital for about three

       hours.” Id. at 111, 308 S.E.2d at 498; see also State v. Bagley, 183 N.C. App. 514, 527,

       644 S.E.2d 615, 623-24 (2007) (holding that “reasonable minds could differ as to

       whether [the victim’s] injury was serious” where the victim sustained “a gunshot

       wound to the leg” for which the victim was hospitalized and released “after about two

       hours”).

¶ 16         Viewed in the light most favorable to Defendant, we conclude that a rational

       juror could have found that no serious injury occurred.        Mr. Winfield’s injuries

       included a bleeding nose, bruised face, and “red marks and welts” on the forehead
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       and back. Mr. Winfield also sustained “multiple fractures to the nasal area” and one

       fracture “underneath the eye.” However, this Court held in McCoy that reasonable

       minds could disagree as to whether the victim’s broken arm constituted a serious

       injury. McCoy, 174 N.C. App at 113-14, 620 S.E.2d at 870. Moreover, Dr. Brower

       testified at trial that the typical level of pain caused by facial fractures is “not quite

       the same as like a broken arm, because you’re generally not moving that part of your

       body as much.”

¶ 17         Mr. Winfield was treated and discharged from the hospital approximately one

       hour and thirty minutes after admission. In Owens and Bagley, both victims were

       similarly treated and discharged in under three hours. Owens, 65 N.C. App. at 111,

       308 S.E.2d at 498; Bagley, 183 N.C. App. at 527, 644 S.E.2d at 623-24. When asked

       why Mr. Winfield was not kept in the hospital for a longer period, Dr. Brower

       testified, “We typically don’t need to keep anybody longer for these types of injuries.”

¶ 18         During the charge conference after the presentation of evidence concluded, the

       trial court agreed to instruct the jury on the lesser included offense of simple assault,

       stating “I think I’ll put [the instruction] in. I think there is some evidence based on

       the questions you had of the doctor—that these [injuries] are not that serious.” This

       statement and the jury instruction on the charge of simple assault indicate the trial

       court must have concluded that a rational juror could have found that Mr. Winfield’s

       injuries were not serious. The trial court thus erred by failing to instruct the jury on
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       the lesser included offense of assault with a deadly weapon. Defendant is entitled to

       a new trial.

¶ 19         Defendant also argues that the trial court erred by entering a civil judgment

       ordering Defendant to pay attorney’s fees without providing Defendant notice and an

       opportunity to be heard. Because we vacate the judgment entered upon Defendant’s

       convictions and remand for a new trial, Defendant is not required to pay attorney’s

       fees associated with the vacated convictions. See N.C. Gen. Stat. § 7A-455(c) (2019)

       (“No order for partial payment under subsection (a) . . . and no judgment under

       subsection (b) . . . shall be entered unless the indigent person is convicted.”); State v.

       Rogers, 161 N.C. App. 345, 346, 587 S.E.2d 906, 907 (2003) (“[T]he universal practice

       of the general courts of justice is to not reduce to judgment the money value of legal

       services provided an indigent person convicted at trial when an appeal is taken that

       results in a reversal of the conviction.”). We therefore vacate the trial court’s civil

       judgment as to attorney’s fees.

                                           III. Conclusion

¶ 20         For the reasons stated herein, we vacate the trial court’s judgment entered

       upon Defendant’s criminal convictions and remand for a new trial. We vacate the

       civil judgment as to attorney’s fees.

             NEW TRIAL; VACATE ATTORNEY’S FEES.

             Judges INMAN and GORE concur.
